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               IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,
                 Plaintiff,

v.                                          Case No. 2:16-cr-20032-JAR

LORENZO BLACK, et al.,
                 Defendants.


                 MOTION FOR WITNESS PRODUCTION
                PURSUANT TO FED. R. CRIM. PROC. 17(b)




     Melody Brannon, undersigned counsel, asks the Court, pursuant to

subsection (b) of Rule 17 of the Federal Rules of Criminal Procedure, for

authority to subpoena the following witnesses in the above-captioned case:

        1.    Patricia Cook
              8715 N Wayne
              Kansas City, MO 64155

     Place and time of appearance:

        On January 18, 2018 at 9:00 a.m., in Courtroom No. 427 of the Kansas
        City, Kansas Courthouse.

                               Basis for Subpoenas

     The Court set a hearing to discuss the Special Master’s findings

concerning the government’s failure to comply with the Phase III




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investigation.1 The Court’s Phase III Order2 makes clear the current

investigation is focused on the conduct of the U.S. Attorneys’ Office and

whether the government committed misconduct and violated CCA-

Leavenworth inmates’ Sixth Amendment rights. Many factual questions

remain concerning the government’s conduct that the Special Master has not

yet been able to answer due to the government’s failure to comply and

participate with his investigation.

   At the next hearing, the Federal Public Defender intends to present

evidence that will assist the Court in making findings and conclusions about

the government’s failure to comply with the Phase III investigation and,

ultimately, whether any Sixth Amendment violations occurred. This evidence

will be limited to matters not previously put forward as evidence or discussed

in a Special Master report, or will serve to further explain or provide context

to information previously presented to the Court.

   The witness requested is a former employee of the United States Marshals

Service for the District of Kansas. As such, a Touhy request was submitted to

counsel representing the government in this matter, in compliance with

Department of Justice regulations. The Touhy request summarizes the

testimony the witness will provide that is relevant to matters before the



1 Docket Entry (D.E.) 300.
2 D.E. 253.


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Court at the next hearing. The Touhy request is attached to this motion as an

exhibit and its contents, including the witness testimony summary, are

incorporated herein.

                                 Conclusion
   The Federal Public Defender Office operates under the Criminal Justice

Act, providing representation to defendants that have been determined

indigent and financially unable to pay the fees and expenses for the

procurement and production of said witnesses. The witness requested in this

Rule 17(b) motion is necessary to litigate the pending motion.

      WHEREFORE, counsel asks the Court for an order directing that a

subpoena be issued for the above-named witness; the United States Marshal

for the District of Kansas (or a duly appointed deputy) be ordered to serve the

subpoena or arrange for service, at the defense request, and authorized to

disburse the necessary funds to pay the costs and fees incurred for the

procurement and production of said witness at the Motion Hearing on

January 18, 2018, at 9:00 a.m.

                                    Respectfully submitted,
                                    s/Melody Brannon__________
                                    MELODY BRANNON, #17612
                                    Federal Public Defender
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                                    Topeka, Kansas 66603
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                       CERTIFICATE OF SERVICE

   I hereby certify that on January 9, 2018, I electronically filed the foregoing
with the clerk of the court by using the CM/ECF system which will send a
notice of electronic filing to the Special Master and all parties, including
Movant Parties and Interested Parties in the case.



                                     s/ Melody Brannon
                                     Melody Brannon




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